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                       UNITED STATES COURT OF APPEALS                       FILED
                               FOR THE NINTH CIRCUIT                        OCT 28 2023
                                                                        MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
  JAMES MILLER, et al.                             No. 23-2979
                                                   D.C. No.
                Plaintiffs - Appellees,            3:19-cv-01537-BEN-JLB
                                                   Southern District of California, San
    v.                                             Diego
  ROB BONTA, in their official                     ORDER
  capacity and ALLISON MENDOZA, In
  their official capacity,

                Defendants - Appellants.

  Before: W. FLETCHER, CALLAHAN, and BENNETT, Circuit Judges.
  Order by Judges W. FLETCHER and BENNETT; Partial Dissent by Judge
  CALLAHAN.

         In light of this court’s published order granting a stay in Duncan v. Bonta,

  83 F.4th 803, 805–06 (9th Cir. 2023) (en banc) (concluding that the attorney

  general of California is likely to succeed on the merits and has shown that

  California will be irreparably harmed absent a stay), and the similarities between

  Duncan and this case, we grant appellants’ motion (Docket Entry No. 6) and

  administratively stay the district court’s October 19, 2023 permanent injunction

  and judgment. In granting an administrative stay, we do not intend to constrain the

  merits panel’s consideration of the merits of this appeal in any way. The

  administrative stay shall remain in effect until the merits panel decides the appeal

  or issues an order lifting the stay.
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        We sua sponte expedite this appeal. The opening brief is due November 9,

  2023. The answering brief is due November 22, 2023. The optional reply brief is

  due November 29, 2023. No streamlined extensions of time will be approved. See

  9th Cir. R. 31-2.2(a)(1).

        The Clerk will place this appeal on the calendar for December 2023. See 9th

  Cir. Gen. Ord. 3.3(g).



  CALLAHAN, Circuit Judge, dissenting in part:


        I would deny appellants’ motion for a stay pending appeal. I do not believe

  we are bound by the published order in Duncan v. Bonta, 83 F.4th 803 (9th Cir.

  2023), and I do not believe appellants have otherwise met their burden of showing

  a likelihood of success on the merits or that they will suffer irreparable injury

  absent a stay. I concur in the order insofar as it expedites this appeal.




                                           2                                    23-2979
